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                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


 Case Title: Lee v. Wexford Health                     Case Number: 25-cv-01772
             Sources Inc., et al.
An appearance is hereby filed by the undersigned as attorney for:
Diana Kucera
Attorney name (type or print): Carl Salvatore Stier

Firm: Illinois Attorney General

Street address: 115 S. LaSalle St.

City/State/Zip: Chicago, IL 60603

 Bar ID Number: 6349954                                Telephone Number: 773-835-0637
 (See item 3 in instructions)

Email Address: carl.stier@ilag.gov

Are you acting as lead counsel in this case?                                 ✔ Yes             No

Are you a member of the court’s general bar?                                 ✔ Yes             No

Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                                  Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?              ✔ Yes             No

If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on March 19, 2025

Attorney signature:        S/ Carl S. Stier
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised 07/19/2023
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  Anthony Lee,                                )
                                              )
                 Plaintiff,                   )
                                              )          Case no. 25-cv-01772
                                              )
           v.                                 )          Honorable Jorge L. Alonso
                                              )
  Wexford Health Sources Inc., et al.,        )
                                              )
                 Defendants.                  )

                               CERTIFICATE OF SERVICE

        The undersigned certifies that on March 19, 2025, he electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to all CM/ECF participants.


KWAME RAOUL                                                       /s/ Carl S. Stier
Attorney General of Illinois
